 Case: 4:20-cv-00655-RLW Doc. #: 30 Filed: 05/20/20 Page: 1 of 2 PageID #: 754



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

ST. LOUIS COUNTY, MISSOURI,                   )
                                              )
          Plaintiff,                          )   Cause No. 4:20-CV-655 RLW
                                              )
v.                                            )
                                              )
HOUSE OF PAIN GYM SERVICES, LLC,              )
et al.,                                       )
                                              )
          Defendants.                         )

                                 ENTRY OF APPEARANCE

          COMES NOW Michael L. Jente of the law firm Lewis Rice LLC, and hereby enters his

appearance as counsel of record for Plaintiff St. Louis County, Missouri in the above-entitled

action.

                                                  Respectfully submitted,

                                                  LEWIS RICE LLC

Dated: May 20, 2020                        By:    /s/ Michael L. Jente
                                                  Neal F. Perryman, #43057 (MO)
                                                  Michael L. Jente, #62980 (MO)
                                                  600 Washington Avenue, Suite 2500
                                                  St. Louis, Missouri 63101
                                                  Telephone: (314) 444-7661
                                                  Facsimile: (314) 612-7661
                                                  nperryman@lewisrice.com
                                                  mjente@lewisrice.com

                                                  and




2380063
Case: 4:20-cv-00655-RLW Doc. #: 30 Filed: 05/20/20 Page: 2 of 2 PageID #: 755



                                         BETH ORWICK
                                         COUNTY COUNSELOR

                                         Steven J. Capizzi, #56209 (MO)
                                         Emily B. Allison, #67304 (MO)
                                         Associate County Counselor
                                         41 S. Central Avenue, Ninth Floor
                                         Clayton, MO 63105
                                         (314) 615-7042 (tel); (314) 615-3732 (fax)
                                         scapizzi@stlouisco.com
                                         eallison@stlouisco.com

                                         Attorneys for Plaintiff
                                         St. Louis County, Missouri




                                     2
